    Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 1 of 10 PageID 1




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

    CHRISTI NOLAND,

          Plaintiff,
    v.
                                                            CASE NO.:
    BRIDGECREST CREDIT COMPANY,
    LLC, f/k/a DT CREDIT COMPANY.

          Defendant.
                                                      /

                                                COMPLAINT

         1.      Unwanted “Robocalls” are the #1 consumer complaint in America today.

         2.      The people complaining about harassing robocalls is increasing at an alarming rate.

In 2014, 1,949,603 complained to the Federal Trade Commission (FTC) and Federal

Communications Commission (FCC), in 2015 this number was 2,636,477 and in 2016 it was

3,857,627. In 2017, between January and August alone the FTC received more than 3,500,000

robocall complaints.1

         3.      Defendant, Bridgecrest Credit Company, LLC f/k/a DT Credit Company

(hereinafter “Bridgecrest” and/or simply “Defendant”), robocalled the Plaintiff at least 75 times.

         4.      Bridgecrest has a corporate policy to robocall people thousands of times.

         5.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991).              Senator Hollings presumably intended to give telephone


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 It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
years.
 Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 2 of 10 PageID 2




subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

years ago, robocall abuse continues to skyrocket.

       6.      Plaintiff, Christi Noland, alleges Defendant, Bridgecrest, robocalled her more than

75 times in stark violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

(“TCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”) and the

Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

       7.      Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

millions of illegal robocalls over the course of a single day at less than 1 cent per minute.”

Stopping Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on

Consumer Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113

Cong. 113-117 (2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing

Practices, Bureau of Consumer Protection, Federal Trade Commission).

       8.      Congress enacted the TCPA to prevent companies like Bridgecrest from invading

American citizens’ privacy and to prevent illegal robocalls.

       9.      Congress also enacted the TCPA to prevent real harm. Congress found that

"automated or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type

of call" and decided that "banning" such calls made without consent was "the only effective means

of protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).



                                                 2
 Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 3 of 10 PageID 3




       10.     According to findings by the FCC—the agency Congress vested with authority to

issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

wireless customers are charged for incoming calls whether they pay in advance or after the minutes

are used.

                                JURISDICTION AND VENUE

       11.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

       12.     Violations alleged in the Complaint occurred in Tampa, Florida.

                                      FACTUAL ALLEGATIONS


       13.     At all times material hereto Plaintiff, Christi Noland, has resided in Tampa, Florida.

       14.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) and 15 U.S.C. §

1692(a)(3).

       15.     Plaintiff is an “alleged debtor.”

       16.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       17.     Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

U.S.C. § 1692(a)(6).

       18.     The debt that is the subject matter of this complaint is a “consumer debt” as defined

by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

       19.     Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(813) 735-5807.
                                                   3
    Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 4 of 10 PageID 4




        20.      Plaintiff was the “called party” during each phone call subject to this lawsuit.

        21.      Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

        22.      Defendant did not have the Plaintiff’s “express consent” to call her cell phone.

        23.      “Express consent” is narrowly construed by the courts.

        24.      It is Defendant’s burden to prove it had “express consent” per the TCPA to call the

Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

        25.      It is Defendant’s burden to prove it had “express consent” per the TCPA to call the

Plaintiff on her cell phone using an ATDS for each account they were calling on.

        26.      Plaintiff put Defendant on notice that she did not want it or its debt collectors

contacting her any further.

        27.      Plaintiff repeatedlty told Defendant to stop calling her.2

        28.      Defendant did not have the Plaintiff’s express consent to call her on the account(s)

it called her on.

        29.      Plaintiff unequivically revoked any express consent Defendant may have

mistakenly believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular

telephone number by the use of an ATDS or a pre-recorded or artificial voice.

        30.      Defendant attempted to collect a debt from the Plaintiff by this campaign of

telephone calls.

        31.      Defendant made at least one call to (813) 735-5807.



2
 Defendant should have the call logs showing the exact number of calls and the recordings which should illustrate
exactly what the Plaintiff said to it and its debt collectors.
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 Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 5 of 10 PageID 5




        32.     Defendant made at least one call to (813) 735-5807 using an ATDS.

        33.     Defendant made at least ten (10) calls to (813) 735-5807.

        34.     Defendant made at least ten (10) calls to (813) 735-5807 using an ATDS.

        35.     Defendant made at least one hundred (100) calls to (813) 735-5807.

        36.     Defendant made at least one hundred (100) calls to (813) 735-5807 using an ATDS.

        37.     Each call the Defendant made to the Plaintiff’s cell phone was done so without the

Plaintiff’s “express permission”.

        38.     Defendant has called other people’s cell phones without their express consent.

        39.     Each call the Defendant made to the Plaintiff was made using an ATDS, which has

the capacity to store or produce telephone numbers to be called, without human intervention, using

a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

227(a)(1).

        40.     Defendant placed the calls at issue to the Plaintiff’s cell phone using a “prerecorded

voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

        41.     Plaintiff repeatedly requested the Defendant to stop calling her cell phone, however,

the Defendant continued to make calls.

        42.     Defendant has admitted to calling cell phones using an ATDS after that person

asked for the calls to stop.

        43.     Defendant ignored the Plaintiff’s repeated requests that it and its debt collectors

stop calling her.

        44.     Defendant has recorded at least one conversation with the Plaintiff.

        45.     Defendant has recorded numerous conversations with the Plaintiff.



                                                  5
 Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 6 of 10 PageID 6




       46.     Defendant has made approximately sevent-five (75) calls to Plaintiff’s

aforementioned cellular telephone number since in or about June of 2017, which will be

established exactly once Defendant turns over its dialer records.

       47.     Despite actual knowledge of its wrongdoing, the Defendant continued its campaign

of abusive robocalls.

       48.     Defendant has been sued in federal court where the allegations include: calling an

individual using an ATDS after the individual asked for the calls to stop.

       49.     By effectuating these unlawful phone calls, Defendant has caused Plaintiff the very

harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

       50.     Defendant’s aggravating and annoying phone calls trespassed upon and interfered

with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by

intruding upon Plaintiff’s seclusion.

       51.     Defendant’s phone calls harmed Plaintiff by wasting her time.

       52.     Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

telephone service provider.

       53.     Defendant’s corporate policies and procedures are structured as to continue to call

individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

have mistakenly believed it had.

       54.     Defendant’s corporate policies and procedures provided no means for the Plaintiff

to have her aforementioned cellular number removed from the call list.

                                                 6
 Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 7 of 10 PageID 7




         55.   Defendant has a corporate policies of using an ATDS or a prerecorded or artificial

voice message to collect debts from individuals such as Plaintiff for its financial benefit.

         56.   Plaintiff expressly revoked any consent Defendant may have mistakenly believed

it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the use

of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the

calls. Making money while breaking the law is considered an incentive to continue violating the

TCPA and other state and federal statutes.

         57.   Defendant never had the Plaintiff’s express consent for placement of telephone calls

to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

voice.

         58.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

         59.   Defendant violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

         60.   Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                                COUNT I
                                         (Violation of the TCPA)

         61.   Plaintiff incorporates Paragraphs one (1) through sixty (60).

         62.   Defendant willfully violated the TCPA with respect to the Plaintiff each time they

called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-

recorded voice.

         63.   Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for

each of the auto-dialed calls made to Plaintiff’s cellular telephone after Plaintiff revoked her

consent to be called by them using an ATDS or pre-recorded voice.


                                                  7
 Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 8 of 10 PageID 8




       64.     Defendant, Bridgecrest repeatedly placed non-emergency telephone calls to the

wireless telephone number of Plaintiff using an automatic telephone dialing system or prerecorded

or artificial voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

       65.     As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

violation of the TCPA.

       66.     Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

Bridgecrest, from violating the TCPA in the future.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant, Bridgecrest, for statutory damages, punitive damages, actual

damages and any other such relief the Court deems just and proper.

                                             COUNT II
                                     (Violation of the FDCPA)

       67.     Plaintiff incorporates Paragraphs one (1) through sixty (60).

       68.     At all times relevant to this action, Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

       69.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d) by

willfully engaging in conduct the natural consequence of which is to harass, oppress, or abuse any

person in connection with the collection of a debt.

       70.      Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(d)(5)

by causing a telephone to ring or engaging any person in telephone conversation repeatedly or

continuously with intent to annoy, abuse, or harass any person at the called number.


                                                   8
 Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 9 of 10 PageID 9




       71.     Defendant engaged in an act or omission prohibited under 15 U.S.C. § 1692(f) by

using unfair and unconscionable means to collect or attempt to collect any debt.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant, Bridgecrest, for statutory damages, punitive damages, actual

damages, costs, interest, attorney fees and any other such relief the Court deems just and proper.

                                             COUNT III
                                      (Violation of the FCCPA)

       72.     Plaintiff incorporates Paragraphs one (1) through sixty (60).

       73.     At all times relevant to this action Defendant is subject to and must abide by the

laws of Florida, including Florida Statute § 559.72.

       74.     Defendant has violated Florida Statute § 559.72(7) by willfully communicating

with the debtor or any member of her family with such frequency as can reasonably be expected

to harass the debtor or her family.

       75.     Defendant has violated Florida Statute § 559.72(7) by willfully communicating

with the debtor or any member of her family with such frequency even after Plaintiff explained to

defendant that the payments were set to be taken out of her bank account monthly and that she

knew when her payments were due. This frequency can reasonably be expected to harass the

debtor or her family.

       76.     Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt

when Defendant knows that the debt is not legitimate or assert the existence of some legal right

when Defendant knows that right does not exist.

       77.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.


                                                  9
Case 8:18-cv-01361-CEH-CPT Document 1 Filed 06/06/18 Page 10 of 10 PageID 10




       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant, Bridgecrest, for statutory damages, punitive damages, actual

damages, costs, interest, attorney fees, enjoinder of future illegal conduct, and any other such relief

the Court deems just and proper.

                                               Respectfully submitted,

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                                                   10
